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STATE OF MISSISSIPPI
COUNTY OF JONES
AFFIDAVIT

Personally appeared before me the undersigned authority, in and for said county
and state, Alex Hodge, who after being duly sworn states on oath as follows:

1. I, Alex Hodge, am of the age of majority and competent to testify about the
matters stated herein and make this affidavit having full personal knowledge of the facts
contained herein.

2. Tam currently the duly elected Sheriff of Jones County, Mississippi and was
serving as such at the time of the incidents about which Plaintiff David Williams
complains.

3. During Mr. Williams arrest and incarceration I had no personal contact with
him and was never made subjectively aware of any complaints regarding his alleged
medical needs or treatment.

4. Jason Meyers is and has been a deputy sheriff for Jones County, Mississippi;
however, he is currently deployed with the United States Army. I understand that he is
deployed overseas at this time. “

Further the affiant sayeth not.

ALEX HODGE
Sworn and subscribed before me this the if day of October, 2018.

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‘of* ID # 98672 Oe
: KAREN BUSTIN,

some a Expires.”
., Feb. 21, 2020 a.

